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    AO 91 (Rev. 08/09) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                         for the                                      APR      ào 2018
                                                              Western District of Texas                     CLERK U.S. oqRtr
                                                                                                             VESTERN DtlrRaft COURT
                                                                                                                               TEXAS
                     United States of America                               )
                                   V.                                                                                                   UEPU)y
                                                                            )
                     ICAL-CaaI, Juan, Alberto
                                                                            )      Case No.                                    -OI))L
                                  and                                       )

                                                                            )
                  VARELA-Euceda, Mario, Noe
                                                                            )
                              Defendant(s)



                                                           CRIMINAL COMPLAINT

           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
    On or about the date(s) of                4/28/2018                  in the county of            Dimmit                              in the
         Western          District of              Texas             ,   the defendant(s) violated:
                Code Section                                                     Offense Description
                                                   Knowingly and intentionally combine, conspire, confederate and agree with
8   usc i 324                                      others, to transport and move, and attempt to transport and move, aliens who
                                                   entered and remained in the United States in violation of the law.
            This criminal complaint is based on these facts:
    On April 28, 2018, Dimmit County Sheriffs Office deputies conducted traffic stops on two vehicles that were driving in
    tandem on Highway 85 in Carrizo Springs, Texas. The first vehicle, a white Chevrolet truck driven by Juan ICAL-Caal, was
    stopped for having the wrong color stop lamps. The second vehicle, a black Dodge Ram, was stopped for failure to signal
    a lane change. DCSO deputies identified Christian Navarro as the driver of the Dodge Ram and Mario VARELA-Euceda
    as the passenger. During the traffic stop, the deputies requested assistance from the U.S. Border Patrol (USBP). USBP
    responded and conducted an immigration inspection that resulted in the identification of eleven illegal aliens (IA's) that
    were in the white Chevrolet All occupants of both vehicles were transported to the Carrizo Springs Bordc.            C tio  r   t


for processing and further questioning. Homeland Security Investigations (HSI) Eagle Pass special agents responded to
the station and interviewed ICAL-Caal. ICAL-Caal stated he transported the IA's to help VARELA-Euceda, who provided
him the white Chevrolet. ICAL-Caal stated he followed VARELA-Euceda, who was in the black Dodge Ram, to a stash
house located in Eagle Pass, Texas, where ICAL-CaaI picked up the ten IA's with the intention of transporting them to San
Antonio, Texas. ICAL-Caal stated he assumed VARELA-Euceda,would pay him approximately $1,000 or $2,000 USD for
helping him transport the IA's. ICAL-Caal identified VARELA-Euceda, on a six panel photographic line-up.



          E Continued on the attached sheet.

                                                                                                        inpl name and title
Sworn to before me and signed in my presence.


Date:                4/30/2018
                                                                                                        Judge's signature

City and state:                              Del Rio, Texas                                   UnitediStates Magistrate J
                                                                                                      4rinted name and title
